‘]\;\ Case 2:05-cr-20095-.]PI\/| Docu'ment 48 Filed 07/13/05 Page 1 of 3 Page|D 64

slier sf_i,§§£§...c.e.
IN THE UNITED sTATEs DISTRICT couRT

`FOR THE wESTERN DISTRICT OF TENNESSEE 2535 JUL -3 PH 1229
wEsTBRN DIVISION

UNITED STATES OF AMERICA,

 

   
   
 

'Jr
')r
Plaintiff, *
* Cr NO ;QSL-
vs. * g 4;5¢5_
inmon GBANTED rca molina
REHIA BARTON, '

STRICT JUDQ§
Def€ndant,

JOINT MOTION TO CONTINUE JULY 14, 2005
CHANGE OF PLEA

The United States, joined by counsel for the defendant, moves

the Court to continue the July 14, 2005 change of plea hearing

presently set in this case to a date after July 26, 2005. The

Assistant United States Attorney assigned to this case is scheduled

to be out of town at a CLE conference the week of July ll; defense

is scheduled to be out of town the week of July 18 through July 26.
Respectfully submitted,

TERRELL L. HARRIS
Un' ed ates Attorney

  

     

 

By:

Assistant United States Attorney
167 N. Main, Room 800

Memphis, TN 38103

(#11392 Tennessee)

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This document entered on the docket sheetllj) compliance
Wirh sure 55 and/or 32(b) Fnch on 7 '/ '

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CERTIFI CATE OF SERVICE
I, Tony R. Arvin, Assistant United States Attorney for the
Western District of Tennessee, hereby certify that a copy of the
foregoing Motion has been mailed, first class postage pre-paid, to

Shelia Brown, Attorney at Law, 91060 Hwy 64, Suite 12, Lakeland, TN

v

38002.

This day of July, 2005.

ToN§ ‘R~./ ARVIN
Assistant United States Attorney
167 N. Main, Room 800

Memphis, TN 38103

ISTRIC COUR - WTERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 48 in
case 2:05-CR-20095 Was distributed by faX, mail, or direct printing on
July ]4, 2005 to the parties listed.

 

 

Sheila D. Brown

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Honorable J on McCalla
US DISTRICT COURT

